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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x
     VIRGINIA L. GIUFFRE,
3
                      Plaintiff,                   New York, N.Y.
4
                 v.                                15 Civ. 7433 (LAP)
5
     GHISLAINE MAXWELL,
6
                    Defendant.
7    ------------------------------x               Remote Decision

8                                                  April 19, 2022
                                                   10:30 a.m.
9
     Before:
10
                            HON. LORETTA A. PRESKA,
11
                                                   District Judge
12

13
                                   APPEARANCES
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          Attorneys for Doe 17
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25        Attorneys for Doe 73
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1              THE COURT:    Good morning, counsel.      Judge Preska here.

2              COUNSEL:    Good morning.

3              THE COURT:    Nice to have you all.

4              Do we have the court reporter, here?

5              (Court and court reporter confer)

6              THE COURT:    Today the Court announces its ruling on

7    the unsealing of documents associated with nonparty Does 17,

8    53, 54, 55, 56, 73, 93, and 151 in Giuffre v. Maxwell.

9              By way of history, the Court sought the parties' view

10   as to how to streamline the unsealing process, and the revised

11   protocol we have settled upon generally works as follows.

12   Rather than reviewing objections by document, the Court is

13   reviewing objections by objector.        This review will proceed in

14   two phases.

15             (Court reporter confers)

16             THE COURT:    Will you do that?     I can hear the clicking

17   of somebody's computer keys, and obviously it is not helpful to

18   the court reporter.     Thank you, lawyers.

19             In talking about the phases through which the review

20   will proceed, first, the parties' briefed and the Court

21   reviewed the documents associated with the 16 nonparty

22   objectors; and, second, the parties briefed and the Court

23   reviewed the documents associated with the remaining nonparties

24   who have not filed objections.

25             We are now in the first phase and today under


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1    consideration are the objections of eight of the 16 nonparty

2    objectors, as I mentioned, Does 17, 53, 54, 55, 56, 73, 93, and

3    151.

4              The Court will announce its general findings relevant

5    to this round of unsealing and as to these eight objectors

6    before marching through its specific findings for each

7    document.

8              As to the presumption of public access, the Court's

9    general findings are as follows:

10             To determine whether materials should be unsealed, the

11   Court's mandate is to undertake a particularized review of each

12   document and to (1) evaluate the weight of the presumption of

13   public access to the materials; (2), identify and evaluate the

14   weight of any countervailing interests; and (3) determine

15   whether the countervailing interests rebut the presumption.

16             The presumption of public access attaches to judicial

17   documents, those documents filed in connection with a decided

18   motion or papers that are relevant to the Court's exercise of

19   its inherent supervisory powers.       The documents at issue here

20   were submitted in connection with discovery motions decided by

21   Judge Sweet.    The Court concludes that they are judicial

22   documents to which the presumption of public access attaches.

23             The motions at issue today are largely discovery

24   motions and related papers whose presumption of public access

25   is somewhat less weighty than for a dispositive motion.              These


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1    documents are nevertheless important to the public interest in

2    monitoring federal courts' exercise of their Article III

3    powers.

4               With this presumption of public access in mind, the

5    Court turns to the countervailing interests at stake.           The

6    Court has considered the arguments advanced by Ms. Giuffre in

7    her briefing and by Ms. Maxwell in her letter stating that she

8    takes no position.

9               The Court has also considered the submission from

10   intervenors Julie Brown and Miami Herald Media Company.

11              Perhaps most importantly for our purposes today, the

12   Court has also received submissions from the nonparty Does whom

13   I have mentioned who have asserted privacy interests that they

14   contend weigh against unsealing.       These objecting Does have

15   been afforded the opportunity to respond to the written

16   positions of the parties and the Herald and some, but not all

17   of them, have availed themselves of that opportunity.

18              The positions of the parties are as follows:

19              In earlier rounds of unsealing, Ms. Maxwell has

20   objected to unsealing on the basis that doing so would imperil

21   her right to a fair trial in what was then her pending criminal

22   trial.    She also advanced various privacy interests.

23   Ms. Maxwell, whose criminal trial has now concluded, now takes

24   no position one way or the other on those.

25              Ms. Giuffre supports the unsealing of the documents in


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1    question relating to the nonparty Does presently under

2    consideration given the presumption of public access to

3    judicial records and the fact that much of the information that

4    was sealed in this matter has since become public in the course

5    of Ms. Maxwell's criminal trial.

6              As to the nonparty Does, as to the names and

7    identifying information of the objecting nonparty Does, much of

8    the purportedly sensitive information has already become public

9    in the course of Ms. Maxwell's criminal trial.          However, as I

10   will explain, there are certain details contained within

11   certain documents as to certain Does that are not public and as

12   to which the objecting Does have set forth a sufficient

13   interest to preserve sealing.

14             Moving on to the specific findings, the Court will now

15   announce its findings with respect to the objecting Does and

16   the sealed documents that are the subject of this motion to

17   unseal.   These findings are a result of the Court's

18   particularized review of each of the 64 documents it has

19   considered for unsealing today.

20             I will first consider each objecting Doe and make

21   findings as to him or her.

22             Doe 17.    When asked about this Doe at her deposition,

23   plaintiff Giuffre testified that she believed Doe 17 also went

24   by another specified name "if it's the same woman I'm thinking

25   of."   Doe 17 never went by the specified name, and thus this is


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1    a case of mistaken identity.       Accordingly, there is no public

2    value to unsealing Doe 17's name "to promote scandal arising

3    out of unproven potentially libelous statements."          Brown v.

4    Maxwell, 929 F.3d 41, 51 (2d Cir. 2019) (Cabranes C.J.).

5    Accordingly, the material relating to Doe 17 shall remain

6    sealed.

7              Does 53 and 54.     With one exception which I will note

8    when I consider it, Does 53 and 54, Glenn and Eva Dubin have

9    not objected to the unsealing of materials relating to them.

10   Accordingly, with that single exception, the sealed material

11   relating to Does 53 and 54 may be unsealed.

12             Does 55 and 56.     These Does were minors at the time of

13   the incidents at issue in this action and played no part in the

14   allegations that form the basis of this action.           There is no

15   public value to identifying them and smearing their good names

16   "to promote scandal arising out of unproven, potentially

17   libelous statements."      Id.   Accordingly, the material relating

18   to them will remain sealed.

19             Doe 73.    This Doe worked for Epstein in a financial

20   capacity and there is no allegation that he was involved in any

21   of the conduct underlying this action.        Given the sensitive and

22   potentially salacious issues in this action, there is no public

23   value in identifying him "to promote scandal arising out of

24   unproven, potentially libelous statements."         Id.   Accordingly,

25   the excerpts with respect to Doe 73 shall remain sealed.


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1              Doe 93.    This Doe was listed on a flight log with

2    Epstein and Maxwell.     He has not been accused of any

3    wrongdoing, and plaintiff Giuffre has testified that she does

4    not remember a man with his name.        Thus, he has no relevance to

5    the issues in dispute in this matter.        Given the sensitive and

6    potentially salacious issues in this lawsuit, there is no

7    public value in harming Doe's good name by publishing

8    "unproven, potentially libelous statements" about him.           Id.

9    Accordingly, the excerpts relating to Doe 93 shall remain

10   sealed.

11             Doe 151.    This Doe, Ronaldo Rizzo, has already been

12   identified in the press and he has given press interviews.

13   Also, several previously sealed excerpts relating to him have

14   been unsealed.    Although he has objected to unsealing, no

15   justification exists for permitting the excerpts relating to

16   Rizzo to remain sealed.      Accordingly, they shall be unsealed.

17             As in earlier rounds of unsealing, the Court will now

18   proceed in the order of the documents listed on the chart that

19   the parties have so helpfully provided, listing their

20   respective positions for each document.         The chart is Exhibit A

21   to Ms. Giuffre's response in support of unsealing, Docket No.

22   1238-1.

23             The Court notes that it has removed two documents from

24   the parties' chart which it believes were included on the chart

25   in error.   First, the original chart lists Docket No. 258-10 as


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1    relating to Doe 151.     The Court believes this was a typo and

2    that the parties meant to list Docket No. 258-1, which is

3    separately listed as relating to Does 53, 55, and 56.           The

4    Court therefore does not consider Docket No. 258-10 and

5    considers Document No. 258-1 with respect to each of Does 53,

6    55, 56, and 151.

7              Second, the original chart lists Docket No. 338-2 as

8    relating to Does 53 and 54.       The Court believes this to be an

9    error resulting from the fact that the declaration is Document

10   338-1, meaning that Exhibit 1 is Docket No. 338-2 and Exhibit 2

11   is Docket No. 338-3.     It's the Court's understanding that the

12   documents objected to are the declaration and Exhibits 2, 3,

13   and 4 to the declaration, which are filed at Docket Nos. 338-1,

14   338-3, 338-4, and 338-5.      The Court therefore does not consider

15   Docket 338-2, which is Exhibit 1 to the declaration.           I will

16   ask the parties to check my work and notify me afterwards if I

17   have omitted either of those documents in error.

18             Now on to the particularized findings as to each

19   document.

20             With respect to Document Entries 122-7 and 150-1, they

21   implicate Does 53 and 54, who do not object to their unsealing,

22   and therefore they may be unsealed.

23             Docket No. 172 relates to Doe 53, who does not object

24   to unsealing.    The docket number shall be unsealed.

25             Docket No. 173-5 relates to Doe 4, who does not object


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1    to unsealing, so it shall be unsealed.

2              Document No. 173-6 relates to Does 53 and 54, who do

3    not object, but also to Doe 93.       The materials relating to Does

4    53 and 54 may be unsealed.      The material relating to Doe 93

5    shall remain sealed for the reasons I mentioned above with

6    respect to 93.

7              Docket Nos. 203 and 204 relate to Doe 151.          For the

8    reasons I mentioned above, those documents shall be unsealed.

9              Docket No. 204-2 relates to Does 53, 54, 55, 56, and

10   151.   The material relating to Does 53 and 54, who do not

11   object to unsealing, shall be unsealed.         The material relating

12   to Does 55 and 56 shall remain sealed for the reasons I stated

13   above.   The material relating to Doe 151 shall be unsealed for

14   the reasons stated above.

15             Documents 211 and 212 both relate to Doe 151 and shall

16   be unsealed for the reasons I noted above.

17             Document 212-2 relates to Does 53, 54, 55, 56 and 151.

18   The material in this document relating to Does 53 and 54, who

19   do not object to unsealing, shall be unsealed.          The material

20   relating to Does 55 and 56 shall remain sealed for the reasons

21   I stated earlier.     The material relating to Doe 151 shall be

22   unsealed for the reasons stated earlier.

23             Document No. 224 relates to Doe 151.         It shall be

24   unsealed for the reasons stated earlier.

25             Document 228 relates to Doe 54 and Doe 151.          The


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1    material relating to Doe 54, who does not object to unsealing,

2    shall be unsealed.     The material relating to Doe 151 shall be

3    unsealed for the reasons stated earlier.

4              Document 229-1 relates to Does 53 and 54 and 151.            The

5    material relating to Does 53 and 54, who do not object to

6    unsealing, shall be unsealed.       The material relating to Doe 151

7    shall be unsealed for the reasons stated earlier.

8              Document No. 232-4 relates to Does 53 and 54 who do

9    not object to unsealing.      Somebody is not on mute, and I know

10   it is not the court reporter.       Let's try to make it easy for

11   her, please.    The material in Document No. 232-4 relating to

12   Does 53 and 54 shall be unsealed.

13             Document No. 235-13 relates to Doe 73.         That material

14   shall remain sealed for the reasons I stated earlier.

15             Document No. 249-4 relates to Doe 151 and shall be

16   unsealed for the reasons stated earlier.

17             Document 249-13 relates to Does 53, 54, 73, and 151.

18   The material relating to Does 53 and 54, who do not object to

19   unsealing, shall be unsealed.       The material relating to Doe 73

20   shall remain sealed for the reasons stated earlier.          The

21   material relating to Doe 151 shall be unsealed for the reasons

22   stated earlier.

23             Documents 257 and 258 both relate to Doe 151.          The

24   material relating to that Doe in these two documents shall be

25   unsealed for the reasons stated above.


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1               Document 258-1 relates to Does 55, 56, 53 and 151.

2    With respect to Doe 53, who does not object to unsealing, the

3    material in this document relating to Doe 53 shall be unsealed.

4    The material relating to Does 55 and 56 shall remain sealed for

5    the reasons stated earlier.      The material relating to Doe 151

6    shall be unsealed for the reasons stated earlier.

7               Docket No. 261 relates to Doe 151 and shall be

8    unsealed for the reasons stated earlier.

9               Document 272-5 relates to Does 53 and 54, who do not

10   object to unsealing, and thus it shall be unsealed.

11              Document No. 280-1 relates to Does 17, 73, and 151.

12   The material relating to Doe 17 shall remain sealed for the

13   reasons stated earlier.      The material relating to Doe 73 shall

14   remain sealed for the reasons stated earlier.         The material

15   relating to Doe 151 shall be unsealed for the reasons stated

16   earlier.

17              Document 315 relates to Doe 53 and Doe 151.        Someone

18   is still not on mute.      Yeah, you.   How hard is this to make it

19   easier for the court reporter, my friends?

20              MR. KELLEHER:   Your Honor, this is Denis Kelleher.

21   Unfortunately, I'm at another house that has an old phone and

22   I'm not able to mute it.      I apologize.

23              THE COURT:   All right.    Then you know what?     Sit still

24   and don't twiddle with your papers or devices.         How's that?

25              MR. KELLEHER:   I apologize.


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1              THE COURT:    Thank you, sir.

2              Document 315 relates to Does 53 and 151.         Doe 53, who

3    does not object to unsealing, shall have that material

4    unsealed.   Doe 151's material shall be unsealed for the reasons

5    stated earlier.

6              Document 316 relates to Doe 151.        That material shall

7    be unsealed for the reasons stated earlier.

8              Document 316-4 relates to Doe 53 and Doe 151.          The

9    material relating to Doe 53, who does not object to unsealing,

10   shall be unsealed.     The material relating to Doe 151 shall be

11   unsealed for the reasons stated above.

12             Document No. 320 relates to Does 53 and 54, who do not

13   object to unsealing.     Accordingly, that material shall be

14   unsealed.

15             Document No. 321-1 relates to Does 17, 53, 54, 73, and

16   151.   The material relating to Does 17 and 73 shall remain

17   sealed for the reasons stated earlier.        The material relating

18   to Does 53 and 54, who do not object to unsealing, shall be

19   unsealed.   The material relating to Doe 151 shall be unsealed

20   for the reasons stated above.

21             Documents 321-2, 321-3, and 321-4 all relate to Does

22   53 and 54, who do not object to unsealing.         Accordingly, the

23   material related to them in these documents shall be unsealed.

24             Document No. 321-5 and 321-6 relate to Does 53, 54,

25   73, and 151.    The material in these documents relating to Doe


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1    73 shall remain sealed for the reasons stated.         The material in

2    these documents relating to Does 53 and 54, who do not object

3    to unsealing, shall be unsealed.       Material relating in these

4    documents to Doe 151 shall be unsealed for the reasons stated

5    earlier.

6               Document 338 relates to Doe 151, 53, and 54.         The

7    material relating to Does 53 and 54, who do not object to

8    unsealing, shall be unsealed.       The material relating to Doe 151

9    shall be unsealed for the reasons stated earlier.

10              Document 338-1 relates to Doe 51 and shall be unsealed

11   for the reasons stated earlier.

12              Document 338-3 relates to Does 53 and 54, who do not

13   object to unsealing, and thus that material shall be unsealed.

14              Document 338-4 relates to Does 53 and 54 and Doe 151.

15   The material relating to Does 53 and 54, who do not object to

16   unsealing, shall be unsealed.       The material relating to Doe 151

17   shall be unsealed for the reasons stated earlier.

18              Document 338-5 relates to Doe 151.       Indeed, it is an

19   excerpt of his deposition.      That material shall be unsealed for

20   the reasons stated earlier.

21              Document 339 relates to Does 53, 54, and 151.         The

22   material relating to Does 53 and 54, who do not object to

23   unsealing, shall be unsealed.       The material relating to Doe 151

24   shall be unsealed for the reasons stated earlier.

25              Document 340 relates to Doe 151.       The material in that


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1    document relating to him shall be unsealed for the reasons

2    stated earlier.

3              Document No. 340-3 relates to Does 53 and 54, who do

4    not object to unsealing, and thus that material shall be

5    unsealed.

6              Document 340-4 relates to Does 53, 54, and 151.            The

7    material relating to Does 53 and 54, who do not object to

8    unsealing, shall be unsealed.       The material relating to Doe 151

9    shall be unsealed for the reasons stated earlier.

10             Document 340-9 relates to Does 53, 55, 56, and 151.

11   The material relating to Doe 53, who does not object to

12   unsealing, shall be unsealed.       The material relating to Does 55

13   and 56 shall remain sealed for the reasons stated above.             The

14   material relating to Doe 151 shall be unsealed for the reasons

15   stated above.

16             Document No. 363-7 relates to Does 17, 53, 54, and 93.

17   The material relating to Does 17 and 93 shall remain sealed for

18   the reasons stated earlier.      The material related to Does 53

19   and 54, who do not object to unsealing, shall be unsealed.

20             Documents 368 and 369 relate to Doe 151.         The material

21   relating to him in those documents shall be unsealed for the

22   reasons stated above.

23             Document No. 369-1 relates to Does 53 and 54 and 93.

24   The material relating to Does 53 and 54, who do not object to

25   unsealing, shall be unsealed.       The material relating to Doe 93


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1    shall remain sealed for the reasons stated earlier.

2              Document 369-2 relates to Doe 151.        The material in

3    that document relating to him shall be unsealed for the reasons

4    stated earlier.

5              Document 369-6 relates to Does 53, 54, and 151.            The

6    material there relating to Does 53 and 54, who do not object to

7    unsealing, shall be unsealed.       The material there relating to

8    Doe 151 shall be unsealed for the reasons stated earlier.

9              Document 388 and 389 relate to Doe 151.         The material

10   relating to him in those documents shall be unsealed for the

11   reasons stated earlier.

12             Document 389-2 relates to Does 53, 54, and 151.            The

13   material therein relating to Does 53 and 54, who do not object

14   to unsealing, shall be unsealed.       The material relating to Doe

15   151 shall be unsealed for the reasons stated earlier.

16             Document No. 392 relates to Doe 151.        The material in

17   that document relating to Doe 151 shall be unsealed for the

18   reasons stated earlier.

19             Document 393-1 relates to Does 53, 54, and 151.            The

20   material in that document relating to Does 53 and 54, who do

21   not object to unsealing, shall be unsealed.         The material in

22   that document relating to Doe 151 shall be unsealed for the

23   reasons stated earlier.

24             Document 400 relates to Doe 151.        The material in that

25   document relating to him shall be unsealed for the reasons


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1    stated earlier.

2              Document 407-1 relates to Doe 54, who does not object

3    to unsealing, and thus the material relating to that Doe shall

4    be unsealed.

5              Document 423-4 relates to Does 17, 53, 54, 73, and

6    151.   The material relating to Does 53 and 54, who do not

7    object to unsealing, shall be unsealed.        The material relating

8    to Does 17 and 73 shall remain sealed for the reasons stated

9    above.   The material relating to Doe 151 shall be unsealed for

10   the reasons stated above.

11             Document 450-1 relates to Does 53 and 54 and 151.

12   Doe 53 does not object to unsealing, and therefore the material

13   relating to that Doe shall be unsealed.        There is material in

14   this document relating to Doe 54, who objects to the unsealing.

15   With respect to that matter, it is clear that the written

16   transcript, which is the actual exhibit, contained a

17   stenographic error.     The reason we know that is, in viewing the

18   video of the deposition, it is very clear what the answer is

19   and that it was a mistaken transcription.         Accordingly, the

20   portion of Document 450-1 that Doe 54 objects to unsealing

21   shall remain sealed.     It is document 450-1, at 217:17-19.         The

22   material in that document relating to Doe 151 shall be unsealed

23   for the reasons stated earlier.

24             And finally Documents 567, 568, 568-1, 606, and 631

25   all relate to Doe 151.     The material relating to that Doe in


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1    those documents shall be unsealed for the reasons stated

2    earlier.

3               Counsel, as always, I will ask you to confer and

4    prepare the documents for unsealing pursuant to this order and

5    to post the documents on the docket within a week, as you all

6    have done so well in the earlier rounds of briefing.

7               Counsel, unmute.    Have I forgotten anything or do you

8    have any questions?

9               And counsel, I think I made a mistake.        I think I said

10   407-1 and what I meant was 407-9, but other than that, any

11   mistakes that are apparent to you, any questions, or other

12   issues?

13              MS. McCAWLEY:    Your Honor, this is Sigrid McCawley for

14   the plaintiff Virginia Giuffre.

15              I heard that you directed us to undertake the

16   unsealing within a week.      I know that Ms. Maxwell's counsel did

17   not submit objections in this round.        I just want to confirm

18   that that work is going to be divided between the two parties,

19   if that's the case, so we understand what needs to be

20   undertaken within the next week?

21              THE COURT:   That makes perfect sense.      Is there any

22   objection to that, Ms. Menninger?

23              MS. MENNINGER:    Your Honor, if we are going to be part

24   of that, I would need a little bit more time.         Our paralegal

25   who is responsible for this particular matter is concluding


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1    another three-week trial right now and will not be available

2    until later this week.     So if we could extend that to two weeks

3    to give her time to be back in the office and help prepare the

4    redactions and unsealing, that would be much appreciated, your

5    Honor.

6              THE COURT:    Yes, ma'am.     Two weeks, ladies and

7    gentlemen.

8              Anything else, friends?

9              Counsel, thank you for being on.        Good morning.

10             COUNSEL:    Thank you, your Honor.

11                                     oOo

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